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 1                                                                            Judge Richard A. Jones
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                           UNITED STATES DISTRICT COURT FOR THE
 6                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 7
 8    UNITED STATES OF AMERICA,                                   NO. CR20-85 RAJ
 9
                                        Plaintiff,
10                                                                ORDER GRANTING STIPULATED
                                v.
                                                                  MOTION TO SUPPLEMENT DKTS.
11
      HARBANS SINGH,                                              19 AND 28
12
                                        Defendant.
13
14
15          The United States and the defendant Harbans Singh, by and through his counsel
16 Mohammad Ali Hamoudi, have submitted a stipulated motion to supplement the factual
17 record relating to Mr. Singh’s Motion to Dismiss Counts 1 and 2 (Dkt. 19) and Motion to
18 Dismiss Multiplicitous Counts (Dkt. 28). The parties have further agreed that, with these
19 supplemental facts, at this time an evidentiary hearing is not needed on those two
20 motions.
21       Having reviewed the parties’ stipulated motion, it is hereby ORDERED that the
22 following information supplements the parties’ proffered factual record with respect to
23 those two motions.
24                 On February 8, 2020, the San Francisco Asylum Office of the U.S.
25          Citizenship and Immigration Services obtained a “Certificate of Conviction” that
            included a description of the dates and offenses of Mr. Singh’s convictions in the
26          United Kingdom. On June 16, 2017, a Collateral Request for Assistance was sent
27          to the Homeland Security Investigations London attaché, requesting documents
            relating to Mr. Singh’s arrests and convictions. On August 3, 2017, Special Agent
28          Jeff Ketelsen of Homeland Security Investigations received approximately 100
            pages of documents from the London Metropolitan Police department. The

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1           documents included booking photos, fingerprint cards, police reports, CCTV
            photos, and conviction documents, which documents made up the majority of the
2
            documents received by the United States in response to its later official MLAT
3           request in April 2018. On August 9, 2017, the San Francisco Asylum Office
            similarly obtained more detailed information regarding Mr. Singh’s criminal
4
            history in the United Kingdom.
5
6           DATED this 19th day of October, 2020.
7
8                                                              A
9                                                              The Honorable Richard A. Jones
10                                                             United States District Judge

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